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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,
                                               Case No. 25-cv-00167
        v.

 OFFICE OF MANAGEMENT AND
 BUDGET, et al.,



                                    NOTICE OF ERRATA

       On January 20, 2025, Plaintiffs filed a Complaint, ECF No. 1, which names as

Defendants the Office of Management and Budget, the Acting Director of Management and

Budget, and the Department of Government Efficiency, as an advisory committee subject to the

Federal Advisory Committee Act. Plaintiffs submit this Notice of Errata in response to the

Court’s Notice of New Case Error, which indicates that the Complaint did not comply with

LCvR 5.1(c) because it did not include a full residence address for Defendant Department of

Government Efficiency. Attached to this Notice is a corrected version of the Complaint, which

includes the following residence address for Defendant Department of Government Efficiency in

the case caption:

       DEPARTMENT OF GOVERNMENT EFFICIENCY,
       an advisory committee subject to the Federal Advisory Committee Act,
       725 17th Street NW
       Washington, DC 20503
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Dated: January 21, 2025           Respectfully submitted,

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                                  *Pro hac vice motion forthcoming

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